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               Exhibit 20
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From:                            James Judah
Sent:                            Saturday, September 30, 2017 10:03 AM
To:                              Rivera, Sylvia
Cc:                              UberWaymoMoFoAttorneys; Uber-sg@LISTS.SUSMANGODFREY.COM; DG-
                                 GPOttoTruckingWaymo@goodwinlaw.com; JCooper@fbm.com; MCate@fbm.com; Jeff
                                 Nardinelli; QE-Waymo
Subject:                         RE: Waymo; Stroz materials at MoFo


Sylvia,

The issue is that on the drive you produced at SFM006 (Bates no. SFM_00001249), all of the photos have create dates of
September 2017, presumably when you copied the photos to the drive. We need to know, at least, the dates that the
photos were actually taken, and neither the drive you provided nor yesterday’s production and cross-reference file
(SFM007) provide that information.

Best,
James

From: Rivera, Sylvia [mailto:SRivera@mofo.com]
Sent: Saturday, September 30, 2017 9:46 AM
To: James Judah <jamesjudah@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; Uber-sg@LISTS.SUSMANGODFREY.COM;
DG-GPOttoTruckingWaymo@goodwinlaw.com; JCooper@fbm.com; MCate@fbm.com; Jeff Nardinelli
<jeffnardinelli@quinnemanuel.com>; QE-Waymo <qewaymo@quinnemanuel.com>
Subject: RE: Waymo; Stroz materials at MoFo

James,

The drive we produced, SFM006, has all of the photos in native format with all of the metadata. Yesterday’s production
of individual, bates’d photos (SFM007) was made in the same format as the previous production of individual, bates’d
photos. Yesterday’s production also included an Excel file containing a cross-reference between the ID numbers of the
individually bates’d versions produced yesterday and the ID numbers of the native versions on the SFM006 drive, so you
already have all of the metatdata and can locate it easily.

Sylvia

From: James Judah [mailto:jamesjudah@quinnemanuel.com]
Sent: Friday, September 29, 2017 7:57 PM
To: Rivera, Sylvia; Jeff Nardinelli; QE-Waymo
Cc: UberWaymoMoFoAttorneys; Uber-sg@LISTS.SUSMANGODFREY.COM; DG-GPOttoTruckingWaymo@goodwinlaw.com;
JCooper@fbm.com; MCate@fbm.com
Subject: RE: Waymo; Stroz materials at MoFo

- External Email -

Yes. We want all of these documents with metadata preserved, either in native form or with load files.

Also, Waymo is provisionally designating all of these documents as Waymo AEO.

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From: Rivera, Sylvia [mailto:SRivera@mofo.com]
Sent: Friday, September 29, 2017 7:55 PM
To: James Judah <jamesjudah@quinnemanuel.com>; Jeff Nardinelli <jeffnardinelli@quinnemanuel.com>; QE-Waymo
<qewaymo@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; Uber-sg@LISTS.SUSMANGODFREY.COM;
DG-GPOttoTruckingWaymo@goodwinlaw.com; JCooper@fbm.com; MCate@fbm.com
Subject: RE: Waymo; Stroz materials at MoFo

James,

I am informed that we transmitted this production tonight (SFM007) in the same format as the prior production from
the drive of Mr. Levandowski’s files. Are you asking for a different format?

Sylvia

From: James Judah [mailto:jamesjudah@quinnemanuel.com]
Sent: Friday, September 29, 2017 7:51 PM
To: Jeff Nardinelli; Rivera, Sylvia; QE-Waymo
Cc: UberWaymoMoFoAttorneys; Uber-sg@LISTS.SUSMANGODFREY.COM; DG-GPOttoTruckingWaymo@goodwinlaw.com;
JCooper@fbm.com; MCate@fbm.com
Subject: RE: Waymo; Stroz materials at MoFo

- External Email -

Counsel –

As requested in my email, please produce native versions of these documents that preserve metadata, and/or load
volumes and tiffs with the metadata.

Best
James

From: James Judah
Sent: Friday, September 29, 2017 5:36 PM
To: Jeff Nardinelli <jeffnardinelli@quinnemanuel.com>; Rivera, Sylvia <SRivera@mofo.com>; QE-Waymo
<qewaymo@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; Uber-sg@LISTS.SUSMANGODFREY.COM;
DG-GPOttoTruckingWaymo@goodwinlaw.com; JCooper@fbm.com; MCate@fbm.com
Subject: RE: Waymo; Stroz materials at MoFo

Sylvia –

Can these documents be produced with Bates numbers and metadata tonight?

Best,
James

From: Jeff Nardinelli
Sent: Thursday, September 28, 2017 7:12 PM
To: Rivera, Sylvia <SRivera@mofo.com>; James Judah <jamesjudah@quinnemanuel.com>; QE-Waymo
<qewaymo@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; Uber-sg@LISTS.SUSMANGODFREY.COM;
                                                          2
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DG-GPOttoTruckingWaymo@goodwinlaw.com; JCooper@fbm.com; MCate@fbm.com
Subject: RE: Waymo; Stroz materials at MoFo

Thanks Sylvia. Attached is a list of file names from the set we’ve reviewed that we would like produced.

Best,
Jeff

From: Rivera, Sylvia [mailto:SRivera@mofo.com]
Sent: Friday, September 22, 2017 8:54 PM
To: James Judah <jamesjudah@quinnemanuel.com>; QE-Waymo <qewaymo@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; Uber-sg@LISTS.SUSMANGODFREY.COM;
DG-GPOttoTruckingWaymo@goodwinlaw.com; JCooper@fbm.com; MCate@fbm.com
Subject: RE: Waymo; Stroz materials at MoFo

James,

We are sending the encrypted drive via messenger to your attention. I will send you the password under separate
cover.

Sylvia

From: James Judah [mailto:jamesjudah@quinnemanuel.com]
Sent: Friday, September 22, 2017 8:14 PM
To: Rivera, Sylvia; QE-Waymo
Cc: UberWaymoMoFoAttorneys; Uber-sg@LISTS.SUSMANGODFREY.COM; DG-GPOttoTruckingWaymo@goodwinlaw.com;
JCooper@fbm.com; MCate@fbm.com
Subject: RE: Waymo; Stroz materials at MoFo

- External Email -

Sylvia –

Waymo agreed to this yesterday. Please immediately produce the drive.

Best,
James

From: Rivera, Sylvia [mailto:SRivera@mofo.com]
Sent: Friday, September 22, 2017 7:57 PM
To: QE-Waymo <qewaymo@quinnemanuel.com>; James Judah <jamesjudah@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; Uber-sg@LISTS.SUSMANGODFREY.COM;
DG-GPOttoTruckingWaymo@goodwinlaw.com; JCooper@fbm.com; MCate@fbm.com
Subject: Waymo; Stroz materials at MoFo

James,

As discussed, and per the request Waymo made yesterday, Morrison & Foerster LLP will produce a drive containing
copies of the Anthony Levandowski materials that it received from Stroz in its capacity as counsel for Mr. Levandowski in
the Google arbitrations, which have been available for inspection since September 14. We are excluding the files that
were designated as personal with the Special Master’s approval. In order to get you the materials as quickly as
practicable, we have not processed and individually Bates labeled each file, but instead are assigning one Bates number
                                                            3
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to the whole drive. This production is subject to the parties’ agreement to follow the protocol currently in place as to
the remote review of the Relativity database hosted by Stroz and containing the Diligenced Employees’
materials. Specifically, if Waymo identifies a file that it wants to use (including but not limited to downloading, printing,
print to PDF), you will notify us and we will create and produce a Bates labeled version as soon as practicable. If you are
selecting the file for use at a deposition that will occur within 24 hours, a Quinn lawyer may go ahead and print the file,
but must promptly circulate it to counsel for the parties to the litigation. We will assign it a Bates number and produce
it, but you need not wait for a Bates number to use the document at deposition, provided that it was circulated.

Please confirm your agreement and we will have the drive delivered. Thanks.

Regards,
Sylvia

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is prohibited. If you received this message in error, please delete it and advise the sender by reply email.

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